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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CHARITABLE DAF FUND, L.P., and                 §
 CLO HOLDCO, LTD.,                              §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §   CIVIL ACTION NO. 3:21-CV-0842-B
                                                §
 HIGHLAND CAPITAL                               §
 MANAGEMENT, L.P., HIGHLAND                     §
 HCF ADVISOR, LTD., and                         §
 HIGHLAND CLO FUNDING, LTD.,                    §
                                                §
      Defendants.                               §

                                    ORDER OF REFERENCE

         Pursuant to 28 U.S.C. § 157 and this District’s Miscellaneous Order No. 33, this case is

hereby REFERRED to Judge Stacey G. C. Jernigan of the United States Bankruptcy Court for the

Northern District of Texas, Dallas Division, to be adjudicated as a matter related to the consolidated

Chapter 11 Bankruptcy of Highland Capital Management, L.P., Chapter 11 Case No. 19-34054. The

Clerk of this Court and the Clerk of the Bankruptcy Court to which this case is hereby referred are

directed to take such actions as are necessary and appropriate to cause this matter to be docketed

as an Adversary Proceeding associated with the consolidated Chapter 11 Bankruptcy of Highland

Capital Management, L.P., Case No. 19-34054.

         SO ORDERED.

         SIGNED: September 20, 2021.

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                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE


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